    A 0 245C (Rev. 3/95) Sheet 1 -Amended Judgment in a Criminal Case
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                                         @lniteb S t a t e ~BiStrirt Court
                                 Eastern District of North Carolina - Eastern Division
                       UNITED STATES OF AMERICA                                          SRCOND AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.
                                                                                                  (For Offenses Committed On or After November 1, 1987)
                   TAUHEEDAH RJCHARDSON
                                                                                                  Case Number:                    4:02CR00060-007
    Date of Ori inal Judgment:                     02/02/2004
        Dan ~ f r nA?& ~udg-q                 18t m d e a m                                       LC                     m             .                    .       --          .            - . .-        .. .-
                                              2nd Amended : 8 / 14107                             Defendsnt1sAMmey
    Reason for Amendment:
         Currection of Sentence on Remand (Fed. R. Crlm. P. 35(e))                                C ModlfraSonof Supervlslon Conditions (18 U.S.C.5 3583(c) or3583(e))
,r       Reduction d Sentence for Changed Circumstances (Fed. R. Crlm. P. 35(b))                        Modificationof Imposed Term of Imprisonment for ExIraordinaryand
                                                                                                        Cornpolling Reasons (18 U S C 5 3532(c)(1))
    I    Corredion of Sentence by Senlenclng Court (Fed. R. Ctim. P. 35(c))
                                                                                                  'AtoModificationof Imposed Tenn of Imprisonmentfcf Retmadive Amendment(s)
    [-7
      Corredon of Sentence for Ckrlcsl Mistake (Fed. R. Crim. P. 36)                                   the Sentencing Guidelines (18 U.S.C. 5 3582(c)(2))
                                                                                                  1 Ll Dlrect Motion to Dlstrict Court Pursuant to                             28 U.SC. 5 2255.
    THE DEFENDANT:                                                                                      r,18 U.S.C.5 3559(c)(7), or                                       L Modficationof RestitutionOrder
     Cl pleaded guilty to count(s)       .. . -                                                                 ....                       .                              --         .   .
                                                                                                                                                                                         -                 --
     L pleaded nolo contendere to count(~)                                               .. ..---. -                                           -
                                                                                                                                               .                     -                   -- ..-
            w h ~ c hwas accepted by the court.
            was found guilty on count(s)    1                                            ......                                        -           -- .--                 .-
                                                                                                                                                                           .             .- .
            afler a plea of not guilty.  --- -
                                                                                                                                                                    Date Offense Count
    Title & Section                                         Nature of Offense                                                                                        Concluded Numberts)
        21 U.S.C. 5 846                                     Conspiracy to Distribute and Posssess With Intent to                                                         1011512002                    1
                                                            Distribute More Than 50 Grams of Cocalne Base and
                                                            Mariiuana




         The defendant is sentenced as provided in pages 2                                          .. .   7-          of this judgment. The sentence is imposed pursuant
    through
      - The defendant has been found not guilty on count(s) -                                      --      .                                           .        -               -.       - .


           Count(s).             -.    ...                (is)(are) dismissed on the motion of the United States.
          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
    any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    i ~ d ~ m eare
                n t fully paid.
    Defendant's Soc. Sec. No.: *                 -- .                  0_8/'44007                               ... , ...

    Defendant's Date of Blrth:      *                    -- . . .. .                                D ~ I Cof ~ m p o rd
                                                                                                                       r ~J U
                                                                                                                            ~~~ ~ ~ W I

    Defendant'sUSM No.:                 2m9-056                         .. .        --
                                                                                   ..

    Defendant's RestdenceAddress:
1
        -                --               .                            ..      .                     --                                                                                      . .
                                                                                                                        OMcer
                                                                                                    Signature 01 Jud~clal

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                                               .     ..      NC                          . .
                                                                                                    MALCOLM J. HOWARD
                   -     . -.                       --       -                                      Senior, U.S. District Judge
                                                                                                                           .-                                                                      -
                                                                                                    Name (L Tllle d Judldel OKrer
    Defendant's Mailing Address:




                          Case 4:02-cr-00060-FL                                         Document 431                      Filed 08/14/07                                 Page 1 of 7
A0 2450 (Rev. 3/85) Amended Judgment in a Criminal Case: Sheet 2 - Imprisonment                                                              (NOTE: Idenlily Changes with Aslerisks ('))
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                                                                                                                                          Judgrnent-Page         2      of      7
DEFENDANT:                         TAUHEEDAH RICHARDSON
CASE NUMBER:                       4:02CR00060-007

                                                                         IMPRISONMENT

                012.  .
   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of                                            lslhtm
                                                                n
                                                                o




 L] The court makes the following recommendations to the Bureau of Prisons:



 3 The defendant is remanded to the custody of the United States Marshal.
        The defendant shall surrender to the United States Marshal for this district:

         U a t        -        ,              a.m.1p.m. on                     .-

         Ll as notified by the United States Marshal.
 C The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         n before 2 P.m. on                          ,




                as notified by the United States Marshal.
         1 as notified by the Probation or Pretrial Services Office.

                                                                                RETURN
I have executed this judgment as follows:




    Defendant delivered on                                          .   ..--                    to                                                    - .-...-....

at -. . . . . . . .                                      , with a certified copy of this judgment.


                                                                                                                                     UNITED STATES MARSHAL


                                                                                                                BY -
                                                                                                                                               Deputy U.S.Marshal




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          --.--.                                         -        -
A0 245C (Rev. 3/95) Amended Judgment in a Criminal Case: Sheet 3 S ~ p e ~ b e
                                                                             Release
                                                                               d
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DEFENDANT:                    TAUHEEDAH RICHARDSON
CASE NUMBER:                  4:02CR00060-007
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of                             ..     - 5      year{s)     .




          The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
       release from the custody of the Bureau of Prisons.

      The defendant shall not commit another federal, state, or local crime.

      The defendant shall not illegally possess a controlled substance.

      For offenses committed on or sfler September 73,1994:
              The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
          drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
          the probation officer.
            The above drug testing condition is suspended based on the court's determination that the defendant poses
            a low risk of future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
       defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release
        in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

     The defendant shall comply with the standard conditions that have been adopted by this court (set forth below) . The
  defendant shall also comply with the additional conditions on the attached pa e (if indicated below).
                                                                      - Page I
                                                                           See Special Condltlo~~s
                                                                                                of !"pervirion

                                       STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
    five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
    officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
    other acceptable reasons;
6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
    notificationsand to confirm the defendant's compliance with such notification requirement.




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A 0 2452 (Rev.3/95) Amended Judgment in a Criminal Case: Sheet 3 Supmleed Release
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                                                                                                                   Judgment-Page       4       of   7
DEFENDANT:                   TAUHEEDAH RICHARDSON
CASE NUMBER:                 4:02CR00060-007

                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall not Incur new credit charges o r open additional lines of credit without the approval of the probation omce.

The defendant shall provide the probation office with access to any requested linanclal information.

The defendant shall partlcipate as directed in a program approved by the probation office for the treatment of narcone addiction,
drug dependency, or alcohol dependency which will include urinalysis testing o r other drug detection measures and may require
residence or participation in a residential treatment facility.

The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine compliance
with the conditions of this judgment.

The defendant shall cooperate In the collection of DNA as directed by the probation officer.




*(The defendant shall forfeit to the United States the defendant's interest in the property specified in the Final Order of
Forfeiture entered on December 15,2003.)




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_           .


    DEFENDANT:
              - - , __.


    CASE NUMBER:
                       _                           -.
                                                  .__


                                 TAUHEEDAH RICHARDSON
                                 4:02CR00060-007
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    A 0 24% (Rev. 3/95) Amended Judgment In a Criminal Case: Sheel 5, Part A Criminal Monetary Peneltles
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                                                                                                                                                                 of
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                                                    CRIMINAL MONETARY PENALTIES
          The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
    forth on Sheet 5, Part 8.
                                                               Assessment                                        -
                                                                                                                 Fine                       Restitution
                Totals:                               $                   100.00       * $                 5,000.00             $


     [_( If applicable, restitution amount ordered pursuant to plea agreement . . . .. . . . . . . .                            $.                   -




                                                                                   FINE
The above fine includes costs of incarceration andlor supervision in the amount of      $-
     The defendant shall pay interest on any fine of more than $2,500, unless the fine Is paid in full before the fifteenth day
after the date of judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 5, Part B may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. 5 3612(g).
           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           Jd    The interest requirement is waived.
           1
           3 The interest requirement is modified as follows:


                                                                         RESTITUTION
    fl The determination of restitution is deferred in a case brought under Chapters 109A, 110, 110A and 113A of Title 18 for
       offenses committed on or after 0911311994, until                  An Amended Judgment in a Criminal Case
                                                                                        .-    ,
           will be entered after such determination.




           The defendant shall make restitution to the following payees in the amounts listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below.
                                                                                                           Priority Order
                                                                      ** Total           Amount of         or Percentage
Name of Payee                                                      Amount of Loss Restitution Ordered of Pavment




                                                                      Totals:          $,              .              $
        " Findings for the total amount of losses are required under Chapters 109A, 110, 11OA, and I13A of Title I 8 for offenses
    committed on or after September 13, 1994.
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  A 0 245C (Rev 3195) Amended Judgmenl in a Criminal Case: Sheet 5, Part B Criminal Moneisry Penallies
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                                                                                                                           Judgment-Page 6..
  DEFENDANT:                     TAUFIEEDAH RICHARDSON
  CASE NUMBER:                   4:02CR00060-007
                                                            SCHEDULE OF PAYMENTS
      Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution;
  (5) interest; (6) penalties,

         Payment of the total fine and other criminal monetary penalties shall be due as follows:
   A           See special instructions below

   6    u$                             -.   immediately, balance due (in accordance with C, D, or E); or
   C    LT not later than          .              -. ; Or
   D    U in installments to commence - -                day(s) after the date of this judgment. In the event the entire amount of
              criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U S . probation
              officer shall pursue collection of the amount due, and shall request the court to establish a payment schedule if
              appropriate; or
   E rI ._ in -              .                  (e.g. equal, weekly, monthly, quarfe*)        installments of $
              over a period of                      year(s) to commence .                        day(s) after the date of lhGidgment.

   The defendant will be mediated for all payments previously made toward any criminal monetary penalties Imposed.
  Special instructions regarding the payment of criminal monetary penalties:
I b e special assessment shall be due in full Immediately.

Tbe fine shall be due In full immediately and shall not bear interest.




C]The defendant shall pay the cost of prosecution.




mhnmJa~bliihPMtmfe~&aint8&hhWWRTQB@$YC@&~ k@hb8#@~i!
                                                  Final Order of
  Forfeiture entered on December 15,2003.
      Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
  imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
  penalty payments are to be made to the Clerk, U.S. District Court, Attn: Financial Unit, Post Office Box 25670, Raleigh, NC
  27611, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program.

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A0 2456 (Rev. 3/95) Amended Judgment In s Criminal Case: Sheet 7 -Denial of Federal Benew                             (NOTE: Identify Changes wilh Aslerisks (*))
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                                                                                                                            Judgment-Page           7--- of - 7
DEFENDANT:                  TAUHEEDAH RICHARDSON
CASE NUMBER:                4:02CR00060-007

                                               DENIAL OF FEDERAL BENEFITS
                                       (For Offenses Committed On or After November 18,1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)
       IT IS ORDERED that the defendant shall be:
       ineligible for all federal benefits for a period of        5 - year(s)       -   .
 3 ineligible for the following federal benefits for a period of            --              -..          ,

       (specify benefit@))




~1     Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances,
       IT IS ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. 5 862(b)
       IT IS ORDERED that the defendant shall be:
       ineligible for all federal benefits for a period of                          .   .
       ineligible for the following federal benefits for a period of                              .--.
       (specify benefit(s))




J successfully complete a drug testing and treatment program.
n perform community service, as specified in the probation and supervised release portion of this judgment.
U Having determined that this is the defendant's second or subsequent conviction for possession of a controlled
       substance, IT IS FURTHER ORDERED that the defendant shall complete any drug treatment program and
       community
            .. .  service specified in this judgment as a requirement for the reinstatement of eligibility for federal




        Pursuant to 21 U.S.C. 5 862(d), this denlal of federal benefits does not Include any retlrement, welfare, Social
     Security, health, disability, veterans benefit, public housing, or other similar beneflt, or any other beneflt for
     which payments or services are required for eligibility. The clerk of court Is responsible for sending a copy of this
     page and the first page of this judgment to:

           U.S. Department of Justlce, Offlce of Justlce Programs, Washington, DC 20531



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